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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER M. THOMAS : CIVIL ACTION
Plaintijjc :
NO. 17-1568
v.
POLICE OFFICER EDWARD TODD, et

al.
Defendants

0 R D E R
AND N()W, this 4th day of May 2018, it is hereby ORDERED that a final pretrial
conference shall be held on July 25, 2018, at 11:30 AM in the United States Courthouse, 601
Market Street, Room 8613, Philadelphia, PA. Lead trial counsel for each party and any
unrepresented party are required to attend. Fourteen (14) days prior to the final pretrial
conference, all parties shall file and submit to the Court a pretrial memorandum that comports

with local Rule 16.1(c). Any failure to comply With this Order may result in sanctions.

BY THE COURT:

/s/ Nitza I. Quifrpnes Aleiandro
NITZA I. QUINONES ALEJANDRO, J.
Judge, United States District Court

